Case 1:19-cv-03312-CKK Document1-1 Filed 11/04/19 Page 1 of 2
CIVIL COVER SHEET

JS-44 (Rev. 6/17 DC)

L. (a) PLAINTIFFS
Vick Mckee,
Ha43/ EvAilbe Line DRC
Hhmn oad, kf 70403
0-/05F

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF

ETAL EXREL UsA

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)

oo FAN at {Nef Aw
po93/ Lime Laie Drie

Mammnb,c 709038 992-10 -10 $F

AT

DEFENDANTS RUS. “fn) felLltTi aA )

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

Case: 1:19-cv—03312

Assigned To : Kollar—Kotelly, Colleen
Assign. Date : 11/4/2019

Description: Pro Se Gen. Civ. (F-DECK)

LL. BASIS OF JURISDICTION
(PLACE AN x IN ONE BOX ONLY)

oO 3 Federal Question
(U.S. Government Not a Party)

1 U.S. Government
Plaintiff

CO 4 Diversity
(Indicate Citizenship of
Parties in item III)

2 U.S. Govemment
Defendant

Citizen of this State

Citizen of Another State @: Oo 2

Citizen or Subject of a
Foreign Country

PTF

oO:

DFT

O11

©O3 @:3

IU. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

PTF DFT
Incorporated or Principal Place oO 4 © 4
of Business in This State
Incorporated and Principal Place Oo 5 O 5
of Business in Another State
Foreign Nation Oo 6 & 6

IV. CASE ASSIGNMENT AND NATURE OF SUIT
(Place an X in one category, A-N, that best represents your Cause of Action and oneina corresponding Nature of Suit)

© A. Antitrust |C B. Personal Injury/

Malpractice

410 Antitrust CI 310 Airplane

[_] 315 Airplane Product Liability

(__] 320 Assault, Libel & Slander

[_] 330 Federal Employers Liability

{_] 340 Marine

[__] 345 Marine Product Liability

CJ 350 Motor Vehicle

_] 355 Motor Vehicle Product Liability

(__] 360 Other Personal Injury

(] 362 Medical Malpractice

[__] 365 Product Liability

C_] 367 Health Care/Pharmaceutical
Personal Injury Product Liability

[_] 368 Asbestos Product Liability

© C. Administrative Agency
Review

{_] 151 Medicare Act

Social Security
[_] 861 HIA (1395ff)

[_] 862 Black Lung (923)

L_] 863 DIWCDIWW (405(g))
(.] 864 SSID Title XVI

[_] 865 RSI (405(g))

Other Statutes
891 Agricultural Acts

[_] 893 Environmental Matters

[__] 890 Other Statutory Actions (If
Administrative Agency is
Inyolved)

J

© D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category

may be selected for this category of

case assignment.

*(If Antitrust, then A governs)*

© E. General Civil (Other) OR

© F. Pro Se General Civil

Bankruptcy
(__] 422 Appeal 27 USC 158

Real Proper
[ 1210 Land Condemnation

[_]290 All Other Real Property

Personal Propert
[ 1370 Other Fraud

(1 550 Civil Rights
CI] 555 Prison Conditions

(__]371 Truth in Lending of Confinement
(__}380 Other Personal Property
Damage pane coe
[385 Property Damage 820 Copyrights
CI 830 Patent

Product Liability

Drug Application
CO 840 Trademark

[_] 560 Civil Detainee — Conditions

CI 835 Patent — Abbreviated New

Federal Tax Suits
{_] 870 Taxes (US plaintiff or

C1220 Foreclosure [1] 423 Withdrawal 28 USC 157 defendant)
(_]230 Rent, Lease & Ejectment (J 871 IRS-Third Party 26 USC
[_]240 Torts to Land Bs oner Petitions 7609
[__]245 Tort Product Liability 535 Death Penalty
{—] 540 Mandamus & Other Forfeiture/Penalty

[-_] 625 Drug Related Seizure of
Property 21 USC 881
[] 690 Other

Other Statutes
(__]375 False Claims Act
[)376 Qui Tam (31 USC
3729(a))
[__] 400 State Reapportionment
[__] 430 Banks & Banking
{_] 450 Commerce/ICC
' Rates/etc.
(__] 460 Deportation

CI 462 Naturalization
Application

(1465 Other Immigration
Actions

Cl 470 Racketeer Influenced
& Corrupt Organization

(__] 480 Consumer Credit

[__] 490 Cable/Satellite TV

(__] 850 Securities/Commodities/
Exchange

[__] 896 Arbitration .

[__] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[__] 950 Constitutionality of State
Statutes

890 Other Statutory Actions

(if not administrative agency
reyjew or Privacy Act)

PATRI 07 ff 200/

Oe
Case 1:19-cv-03312-CKK Document 1-1

Filed 11/04/19 Page 2 of 2

© G. Habeas Corpus/
2255

(__] 530 Habeas Corpus — General

[__] 510 Motion/Vacate Sentence

[__] 463 Habeas Corpus ~ Alien
Detainee

© H. Employment
Discrimination

(__] 442 Civil Rights - Employment
(criteria: race, gender/sex,
national origin,

- discrimination, disability, age,
religion, retaliation)

*(If pro se, select this deck)*

© I. FOIA/Privacy Act

CJ 895 Freedom of Information Act
CJ 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

© J. Student Loan

[_]152 Recovery of Defaulted
Student Loan
(excluding veterans)

© K. Labor/ERISA
(non-employment)

((.] 710 Fair Labor Standards Act
[__] 720 Labor/Mgmt. Relations
(] 740 Labor Railway Act
(__] 751 Family and Medical

Leave Act
(_] 790 Other Labor Litigation
(_] 791 Empl. Ret. Inc. Security Act

© L. Other Civil Rights
(non-employment)

[__] 441 Voting (if not Voting Rights
Act)

Cc] 443 Housing/Accommodations

L_]440 Other Civil Rights

[__]445 Americans w/Disabilities —
Employment

{_]446 Americans w/Disabilities —

. Other

© M. Contract

[J 110 Insurance

(J 120 Marine

(__] 130 Miller Act

CJ 140 Negotiable Instrument

[J 150 Recovery of Overpayment
& Enforcement of
Judgment

[J 153 Recovery of Overpayment
of Veteran’s Benefits

O N. Three-Judge
Court

(_] 441 Civil Rights - Voting
(if Voting Rights Act)

(1448 Education [_] 160 Stockholder’s Suits
[-_] 190 Other Contracts
CI 195 Contract Product Liability
[__] 196 Franchise
V. ORIGIN
@ 1 Original © 2 Removed © 3 Remanded oO 4 Reinstated oO 5 Transferred Oo 6 Multi-district oO 7 Appeal to © 8 Multi-district
Proceeding from State from Appellate or Reopened from another . Litigation ’ District Judge Litigation —
Court Court district (specify) from Mag. Direct File
‘ Judge

VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)

Doves eT + Capuron Patch KONCESHRICS eau SAL TIONS HET 22017

VII. REQUESTED IN CHECK IF THIS IS A CLASS DEMAND §$ Check YES only if demanded in complaint
COMPLAINT sGHONEN Ea JURY DEMAND: yes[__] No Cet
rte
VIII. RELATED CASE(S) (Sce instruction) YES NO ry If yes, please complete related case form
IFANY ,

SIGNATURE OF ATTORNEY OF RECORD Vcd 4 Z CL

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

pate: __7/ /: Y Le ab [Z
/ é

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as requtred
by law, except as provided by local mules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket shect. Consequently, a civil cover sheet is submitted to the Clerk of Court for cach civil complaint filed
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

L COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFE/DEFENDANT (b) County of residence: Use 1 1001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

Ill. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section IL.

Iv. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
represents the primary cause of action found in your complaint. You may select only one category. You must also select one-corresponding
nature of suit found under the category of the case.

VI. CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

VIII. RELATED CASE(S), IF ANY: If you indicated that there is a related-case, you must complete a related case form, which may be obtained from

the Clerk's Office.

Because of the need for accurate and complete information, you should ensure the accuracy ofthe information provided prior to signing the form.
